Case 9:12-cv-80577-KAM Document 352 Entered on FLSD Docket 06/27/2019 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 12-CV-80577-MARRA/MATTHEWMAN

   BRIAN KEIM, an individual, on behalf of
   himself and all others similarly situated,

          Plaintiff,
   v.


   ADF MIDATLANTIC, LLC, a foreign
   limited liability company, et al.,


        Defendants,
   __________________________________/

              JOINT STATUS REPORT REGARDING PLAINTIFF’S MOTION
                     TO COMPEL AGAINST VERIZON WIRELESS


         Pursuant to the Court’s Order Setting Hearing and Requiring Further Conferral and Joint

  Notice [D.E. 334], the Parties (Plaintiff and Verizon Wireless) hereby advise the Court that the

  Parties have continued to confer and are nearing a resolution. The Parties anticipate they will file

  a Supplemental Joint Status report tomorrow seeking vacation of the July 2, 2019 hearing.




  Dated: June 27, 2019                                 Respectfully submitted,


                                                       s/ Keith J. Keogh
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Case 9:12-cv-80577-KAM Document 352 Entered on FLSD Docket 06/27/2019 Page 2 of 2




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                                                      Attorneys for Non-Party Verizon Wireless


                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 27, 2019, I electronically filed the foregoing document with
  the Clerk of Court using CM/ECF and served upon Counsel for AT&T via electronic mail.

                                                              By: s/ Keith J. Keogh
                                                                 Keith J. Keogh
